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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION

 UNITED STATES OF AMERICA                           §
                                                    §
                              Plaintiff,            §
                                                    §
 v.                                                 §       Civil Action No. 7:20-CV-395
                                                    §
 0.532 ACRES OF LAND, MORE OR                       §
 LESS, SITUATE IN STARR COUNTY,                     §
 STATE OF TEXAS; AND MARCOS                         §
 MUNIZ, Jr., ET AL.                                 §
                                                    §
                              Defendant.            §


                  DEFENDANT JUANITA P. RIVAS’ ORIGINAL ANSWER
        Pursuant to Rules 71.1(e)(2) and 71.1(i)(1)(C), Defendant Juanita P. Rivas (“Defendant”),

hereby file his Original Answer to the United States of America’s Complaint in Condemnation,

Declaration of Taking, and Notice of Condemnation.

               RESPONSES TO THE COMPLAINT IN CONDEMNATION

        1.      Defendant does not have sufficient knowledge to form a belief as to the truth of the

allegations in paragraph 1.

        2.      Defendant admits the allegations in paragraph 2, subject to his objections and

defenses stated below.

        3.      Defendant does not have sufficient knowledge to form a belief as to the truth of the

allegations in paragraph 3, which addresses Plaintiff’s Schedule A (“Authority for the Taking,”).

        4.      Defendant does not have sufficient knowledge to form a belief as to the truth of the

allegations in paragraph 4, which addresses Plaintiff’s Schedule B (“Public Purpose,”).
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       5.      Defendant asserts that he owns a fee simple interest in the approximately 0.532 acres

of the land affected by this condemnation suit. In response to paragraph 5, Defendant admits that

the legal description of this property in Schedule C (“Legal Description,”) and Schedule D (“Map or

Plat,”) appear to be more or less accurate.

       6.      In response to paragraph 6, which addresses Plaintiff’s Schedule E (“Estate Taken,”),

Defendant again asserts that he owns a fee simple interest in the approximately 0.532 acres of land

affected by this condemnation suit. Defendant also admits that the legal description in Schedule C

(“Legal Description,”) and Schedule D (“Map or Plat,”). appear to be more or less accurate.

       7.      Defendant denies that the sum estimated in paragraph 7, which addresses Plaintiff’s

Schedule F (“Estimate of Just Compensation,”), constitutes just compensation for the fee simple

taking. Plaintiff has failed to deposit an amount of money rationally estimated to constitute just

compensation for the fee simple taking of the land it seeks, in violation of Federal Rule of Civil

Procedure 71.1(j)(1), 8 U.S.C. § 1103(b), 40 U.S.C. § 3114(a)(5), and the Due Process and Takings

Clauses of the Fifth Amendment to the United States Constitution. The just compensation required

under law is greater than Plaintiff alleges, and therefore Defendant requests, pursuant to Federal

Rule of Civil Procedure 71.1(h)(1)(B), a trial by jury to determine just compensation and a bench

trial to adjudicate any damages that may result from the taking.

       8.      In response to paragraph 8, which addresses Plaintiff’s Schedule G (“Interested

Parties,”), Defendant asserts that the following individuals own a fee simple absolute interest in the

approximately 0.532 acres of land affected by this condemnation suit:

       (1).    Alberto Alaniz
       (2).    Alonzo Alaniz
       (3).    Andrew Alaniz
       (4).    Felipa Alaniz
       (5).    Jose Alaniz, Jr.
       (6).    Jesse (Jesus) Barrera
       (7).    Luisa Perez Barrera
       (8).    Miguel Barrera, Jr.
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 (9).    Myra Trinidad Barrera
 (10).   Aaron Barron
 (11).   Ernesto Barron
 (12).   Estrella E. Perez Casas
 (13).   Ismael Casas, III
 (14).   Ismael Casas, Jr.
 (15).   Rosa Perez Chapa
 (16).   Martina Cobb
 (17).   Aracell P. Conway
 (18).   Adriana P. Garza
 (19).   Rosalinda Perez Garza
 (20).   Juanita Perez Guerra
 (21).   Merlinda P. Hinojosa
 (22).   Ida Jimenez
 (23).   Delfina Lopez
 (24).   Maria Inez Perez Lopez
 (25).   Rosita Martinez
 (26).   Alicia Perez Moreno
 (27).   Marco Muniz, Jr.
 (28).   Roberto Muniz
 (29).   Roberto Muniz
 (30).   Alfredo Ochoa, Jr.
 (31).   Eduardo Ochoa
 (32).   Leroy Ochoa
 (33).   Raul Ochoa
 (34).   Ubaldo Ochoa
 (35).   Yolanda Paderez
 (36).   Aide P. Pena
 (37).   Adolfo Perez
 (38).   Aida Marie Perez
 (39).   Ana Marie Perez
 (40).   Artemio Baldemar Perez
 (41).   Baudelio Perez
 (42).   Benito Perez
 (43).   Benjamin Perez, III
 (44).   Christian Abraham Perez
 (45).   Christobal Hector Perez
 (46).   Eduardo F. Perez
 (47).   Eli Roy Perez
 (48).   Ignacio Perez, Jr.
 (49).   Jaime Perez
 (50).   Jose Luis Perez
 (51).   Librado Perez
 (52).   Librado Encarnacion Perez
 (53).   Candelaria Perez Ruiz
 (54).   Zulema Perez Torres
 (55).   Davy Trevino
 (56).   Emma Vasquez
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        (57).    The Unknown Heirs of Librado Perez
        (58).    The Unknown Heirs of Arnolod Araniz
        (59).    The Unknown Heirs of Benjamin Perez, Jr.
        (60).    The Unknown Heirs of Elisa Ochoa
        (61).    The Unknown Heirs of Emily Torrez
        (62).    The Unknown Heirs of Mary Lou Saldana
        (63).    The Unknown Heirs of Miguel Perez
        (64).    The Unknown Heirs of Ninfa Muniz Garcia
        (65).    The Unknown Heirs of Eufracia Perez Gonzales
        (66).    The Unknown Heirs of Jesus Angel Perez
        (67).    The Unknown Heirs of Jose Olivarez Perez
        (68).    The Unknown Heirs of Leonel Perez
        (69).    Ameida Salinas, Starr County Tax Assessor

        9.       To the extent that paragraph 9 requires an answer, Defendant again asserts that he

owns a fee simple interest in the 0.532 acres of land affected by this condemnation suit. Defendant

asserts that Hidalgo County Tax Authority may claim an interest in a portion of the parent tract at

issue in this case.

                       DEFENDANT’S OBJECTIONS AND DEFENSES

        18.      Pursuant to Rule 71.1(e)(2) of the Federal Rules of Civil Procedure, Defendant sets

out the following objections and defenses to the Complaint in Condemnation of a fee simple taking

on the approximately 0.532 acres of land Plaintiff seeks. Defendant would show the following:

        19.      Plaintiff has exceeded its condemnation powers by seeking to construct “related

structures” on the condemned property. The stated intent to construct “related structures” exceeds

the grant of authority contained in 8 U.S.C. § 1103(b) and note, which provides for “reinforced

fencing,” “physical barriers, roads, lighting, cameras, and sensors,” but not “related structures.” To

the extent that Plaintiff’s stated public purpose fails to define “related structures,” Defendant

objects. See Schedule B.

        20.      Plaintiff has exceeded its condemnation powers by seeking to condemn property that

is not “adjacent to or in the vicinity of an international land border.” That stated intent to condemn

Defendant’s property exceeds the grant of authority contained in 8 U.S.C. § 1103(b)(1), which allows
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“[t]he Attorney General” to “contract for or buy any interest in land, including temporary use rights,

adjacent to or in the vicinity of an international land border.” As defined by Article V of the Treaty

of Guadalupe Hidalgo, and recognized by this Court in Amaya v. Stanolind Oil & Gas Co., 62

F.Supp.194 (S.D. Tex. 1945), and the Supreme Court in U.S. v. States of La., Tex., Miss., Ala. and Fla.,

363 U.S. 1, 36, 48 (1960), in Texas the international border between the United States and Mexico is

not a “land border,” but instead a water border, comprised of “a line commencing at the mouth of

the Rio Grande, thence up the middle of that river to the southern boundary of New Mexico.”

Amaya at 194. See Schedule D.

        21.     Plaintiff has exceeded its condemnation powers by failing to engage in bona fide

negotiations with Defendant. Specifically, Plaintiff initiated the instant proceeding against

Defendant’s property without either (i) inviting Defendant to fix a price for the interest Plaintiff

seeks, or (ii) making best efforts to agree with Defendant on a reasonable price for that interest in

line with rational and lawful standards for determining a reasonable price. Defendant objects to the

extent that this failure violates 8 U.S.C. § 1103(b)(2) and (3).

        22.     Plaintiff has exceeded its condemnation powers by failing to abide by the procedures

set forth in 8 U.S.C. § 1103(b) and note. This provision requires Plaintiff to “consult with the

Secretary of the Interior, the Secretary of Agriculture, States, local governments, Indian tribes, and

property owners in the United States to minimize the impact on the environment, culture, commerce,

and quality of life for the communities and residents located near the sites at which fencing is to be

constructed” (emphasis added).

        23.     To the extent that Plaintiff has not complied with all federal statutes before declaring

a public purpose, Defendant objects.

        24.     To the extent that Plaintiff has failed to conform the proposed condemnation to the

Uniform Appraisal Standards for Federal Land Acquisitions, Defendant objects.
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         25.    To the extent that Plaintiff has exercised its condemnation authority under 8 U.S.C. §

1103(b) and note in an arbitrary and capricious manner, in violation of the equal protection

guarantees of the Fifth Amendment to the United States Constitution, Defendant objects. On

information and belief, Plaintiff has exercised its condemnation authority to take the property of

small, vulnerable landowners, including Defendant, while leaving other landowners to the

undisturbed possession of his estates.

         26.    To the extent that the property interests Plaintiff seeks to condemn may be subject

to an exception set forth in the Secure Fence Act of 2006 if the topography of the relevant land has

an elevation grade greater than ten percent, Defendant objects.

         27.    To the extent that the condemnation of the property may violate the Treaty to

Resolve Pending Boundary Differences and Maintain the Rio Grande and Colorado River as the

International Boundary, Nov. 23, 1970, 23 U.S.T. 390, T.I.A.S. No. 7313 (Rio Grande and Colorado

River Treaty) and the Treaty of Feb. 3, 1944, 59 Stat. 1224 and exacerbate flooding on Defendant’s

property, Defendant objects.

         29.    Defendant reserves his right to receive all notices that may be required, at present or

in the future, before Plaintiff, or its contractors or agents acting on its behalf, enter Defendant’s

land.

         30.    Defendant reserves the right to recover attorneys’ fees for this action, as provided by

the Equal Access to Justice Act, 28 U.S.C. § 2412. See also U.S. v. 329.73 Acres of Land, et al., 704 F.2d

800 (5th Cir. 1983, en banc).

         31.    Defendant reserves the right to receive additional interest on any final award of

compensation, as provided by 40 U.S.C. § 3116.
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         32.   Defendant reserves further the right to file additional objections and defenses to

Plaintiff’s proposed temporary taking if Plaintiff files any additional amendments or if circumstances

otherwise change.

                                     RELIEF REQUESTED

         33.   For the foregoing reasons, Defendant Juanita P. Rivas respectfully request that the

Court:

         a.    Grant Defendant’s request for a trial by jury under Rule 71.1(h)(1)(B) of the Federal

               Rules of Civil Procedure on the issue of just and adequate compensation;

         b.    Allow Defendant to recover his expenses for attorneys’ fees, under either the

               Uniform Relocation Assistance and Real Property Acquisition Policies Act of 1970,

               42 U.S.C. § 4654(a)(1) or the Equal Access to Justice Act, 28 U.S.C. § 2412 or both,

               as applicable; and

         c.    Grant Defendant any other relief the Court deems proper.

                                               Respectfully submitted,

                                               GK Law PLLC

                                               /s/ Gagan Khan
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                                  CERTIFICATE OF SERVICE
        The undersigned counsel hereby certifies that she has electronically submitted a true and

correct copy of the foregoing via the Court’s ECF/CM system on the 4th day of March 2021, which

will serve a copy on all counsel of record.

                                                                                  __/s/ Gagan Khan
                                                                                        Gagan Khan
